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CERTIFICATE OF SERVICE

I, Stacy L. Newman, hereby certify that, on June 13, 2014, I caused one copy of the

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